Case 2:04-cr-20221-BBD Document 35 Filed 05/31/05 Page 1 of 2 PagelD 40

iN THE uNiTEo sTATEs oisTRicT couRT rm .-z-,» f w
i=oR THE wEsTERN oisTRicT oi= TENNEssEE ' '“
wEsTERN DivisioN 05 witt 3i Pri 3: lt

uNiTEo sTATEs oi= AMERicA v_§:'.r§“a§;;`_=._.:r;;[. c>i§j~_"'§;,q
7 - .. i-~,. .*i.i§..qa_ h

P|aintiff

VS.
CR. NO. 04-20221-D

A|VlAL|A L. |VIARCELLA

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
g.\_gort date of Thursdav. Ju|v 21. 2005, at 9:00 a.m.. in Courtroom 3, 9th Floor of the
Federal Building, l\/lemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

ir is so oRDERED this 54 day of iviay, 2005.

 

'i'his document entered on the docket sheet in coughch

with R.i|a 55 and/or 32!bl FRCrP on _L£$G.;._

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20221 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

